
600 S.E.2d 856 (2004)
STATE of North Carolina
v.
Edward Earl HERRING.
No. 289P04.
Supreme Court of North Carolina.
July 7, 2004.
Edward Earl Herring, Pro Se.
Kathleen U. Baldwin, Assistant Attorney General, William David McFadyen, Jr., District Attorney, for State.

ORDER
Upon consideration of the petition filed by Defendant on the 16th day of June 2004 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 7th day of July 2004."
Upon consideration of the application filed by Defendant on the 6th day of July 2004 in this matter for Writ of Habeas Corpus (State Actions), the following order was entered and is hereby certified to the Superior Court, Craven County:
"Denied by order of the Court in conference, this the 7th day of July 2004."
